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                          UNITED STATES OF AMERICA
                        UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF MICHIGAN
                              NORTHERN DIVISION

UNITED STATES DISTRICT COURT


                     Plaintiff,                 Case No. 2:16-17-01 and 02

v.                                              HON.ROBERT HOLMES BELL

MATTHEW GORDON LUNDY and
JORDAN MICHAEL KOSKINEN

                     Defendant.
                                       /

                                  ORDER OF DETENTION

        Defendants appeared before the undersigned on August 19, 2016 for an initial

appearance on a 5 count indictment. The government has moved for pretrial/temporary

detention for both defendants (ECF Nos. 4 and 5). Pretrial services will look into in-

patient treatment opportunities for both defendants. Defendant Lundy will be given time

to consult with counsel and Defendant Koskinen expressed interest in in-patient

treatment. Detention hearing for both defendants will be set.

        Defendant shall be detained pending further proceedings.

        IT IS ORDERED




Dated: 8/19/2016                             /s/ Timothy P. Greeley
                                           TIMOTHY P. GREELEY
                                           U.S. MAGISTRATE JUDGE
